










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS



J.E. BOYD GENERAL
CONTRACTOR, INC.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

PRESTIDGE SMITH RAZLOZNIK,
INC., F/K/A PRESTIDGE SMITH
ARCHITECTS, INC.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-05-00327-CV

Appeal from 

County Court at Law No. 3

of El Paso County, Texas

(TC# 2005-6170)




O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is the Appellant’s unopposed motion to dismiss this appeal.
Texas Rule of Appellate Procedure 42.1(a)(1) states:
(a) On Motion or By Agreement.  The appellate court may dispose of an
appeal as follows:
&nbsp;
(1)  On Motion of Appellant.  In accordance with a motion of
appellant, the court may dismiss the appeal or affirm the
appealed judgment or order unless disposition would prevent a
party from seeking relief to which it would otherwise be
entitled.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Tex. R. App. P. 42.1(a)(1).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has complied with the requirements of Rule 42.1(a)(1).  The Court has
considered this cause on the Appellant’s motion and concludes the motion should be granted
and the appeal should be dismissed.  We therefore dismiss the appeal.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RICHARD BARAJAS, Chief Justice
November 10, 2005

Before Barajas, C.J., McClure, and Chew, JJ.



